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Exhibit 2
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Page 1
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Civil Case No. 13 CV 1432
~— a — — — a — — — — — — — _— eed ate — — — ny — =x

WILLIAM HENIG, on behalf of himself and all

others similarly situated,
Plaintiff,
- against -

QUINN EMANUEL URQUHART & SULLIVAN, LLC and
PROVIDUS NEW YORK, LLC,

Defendants.

233 Broadway
New York, New York

September 9, 2014
10:18 a.m.

PRIVILEGED - CONFIDENTIAL
SUBJECT PROTECTIVE ORDER

VIDEOTAPED CONFIDENTIAL DEPOSITION of
ANDREW KUTSCHER, held at the above time and
place, taken before Brittany Saline, a Notary
Public of the State of New York, pursuant to

the Federal Rules of Civil Procedure.

 

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Page 17

ANDREW KRUTSCHER - PRIVILEGED - CONFIDENTIAL

Q And who made those documents
available to him on a computer screen?

A Iam sorry, I am not sure [I
understand the question.

Q Did Quinn Emanuel make those
documents available for Mr. Henig for reviewing
on a computer screen?

A What do you mean by "made

available"?

Q Did they put -- did they put them
there?
A No. Quinn Emanuel didn't run the

software that put the documents on the computer

screen.
Q Okay. Who did?
A The document database was run by a

company called LDiscovery.
Q Okay. Now, the documents that
Mr. Henig was reviewing were turned over by

to Quinn Emanuel as part of a potential

 

production in the litigations, correct?

A No. The bulk of the documents

  
 

were obtained from

 

 

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Page 18

ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL

also clients of Quinn Emanuel?

A Not directly, no. Es client.

Q But the bulk of the documents were
@® cox purposes of for -- responding toa

request for document production, correct?

  

A Yes. and [.

 

provided the documents to LDiscovery.

Q Okay. And then did LDiscovery
break these documents down into batches before
they were presented to document review
attorneys for review?

A In most instances, yes. Documents
also could have been distributed using searches
as opposed to batches.

Q And what do you mean by
"searches"?

A If there were particular documents
that we wanted to review we could have and
sometimes did locate those documents for
immediate review of potential production using
various search terms or the names of custodians
or LANS and then those documents would have

been presented in a static search.

 

 

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Page 20

ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
Q And was -- and was that search
feature used to narrow the set of documents
that was originally turned over by

A There was a search feature used to

 

do that, but I believe it is a different search
feature than the one I referred to a few
moments ago.

Q Okay. But my question was: Was
there a search performed to narrow the pool of
documents that was turned over by |

A Yes, there was.

   

Q And after the -- and what kind of
search was that; was that a keyword search?

A There were both keyword and
connector searches used.

Q And after the keyword and/or
connector searches were performed, the narrower
pool of documents would be turned over to
First-level reviewers to review; is that
accurate?

A Yes.

Q And by the time a first-level

 

 

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Page 22

ANDREW KUTSCHER ~- PRIVILEGED - CONFIDENTIAL

A Most likely, yes.
Q Sixty percent of the time?
A I think it's likely under

50 percent of the time.

Q Less than 50 percent of the time
that a keyword appeared in a document was the
keyword highlighted?

MS. SUTTON: Objection.

Q Is that your testimony?
A It's going to depend on the
keyword. The issue is that some keywords would

have been highlighted and others would not, but
my belief is that less than 50 percent of the
time that our keywords were connector terms
were in a document one of those would have
appeared as highlighted.

Q Were there certain keywords that

were highlighted every time they appeared ina

document?
A Yes.
Q What percent of the keywords would

you estimate were the type of keywords that
would be highlighted every time they appeared

in a document?

 

 

 

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Page 33

ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
litigation?

A Yes.

Q And a staff of attorneys employed
directly by Quinn Emanuel?

A Sorry, can you restate that?

Q Is a staff attorney a direct --
directly employed Quinn Emanuel attorney, to
the best of your knowledge?

A I don't know that I can
characterize their employment agreement with

Quinn Emanuel.

Q Are they Quinn Emanuel attorneys?
A I -- they're paid directly by
Quinn Emanuel. I don't know if they are

formally categorized as employees.

MS. SUTTON: I am not sure that
staff attorneys is a word that Quinn
Emanuel's employee uses, so if you want
ask the witness absent that term he may
have more information for you.

Q Well, it sounds like you --
there's a type of person called staff attorney
and you understand what I am talking about; is

that inaccurate?

 

 

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used on this

second-level

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question. I

it sounds --

answer.

A

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record,

 

attorney you'

is used,

Page 34

ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL

I assume that when you say staff

re referring to what I would call

a Quinn Emanuel contract attorney or what we

case as -- or called on this case
reviewers; is that correct?

Well, I'll -- I'll ask you the
don't want to -- unless -- I mean,

it sounds like you understood my

question, I am not trying to trick you into an

I am talking about an individual

that's employed by Quinn Emanuel that works on
a document review project that's not provided

through Providus.

Right, I believe we're talking

about the same group of people.

Okay.
MS. SUTTON: For -- for the

can you clarify what you

understand, for purposes of this

deposition, when the term "staff attorney”

can you clarify what group of

attorneys you're using. I'm sorry, I just

think it would be clearer for the record.

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL

THE WITNESS: Yeah, when I hear

staff attorneys, what I think of are the
second-level reviewers on this project who

I would call Quinn Emanuel contract

attorneys.

Q Is it -- is it your understanding
that those individuals' relationship with Quinn
Emanuel is for more than just a purpose of one
specific job?

A Not in all cases, no.

Q Okay. Are there Quinn Emanuel
attorneys that are not associate attorneys but,
nevertheless, have a long relationship with
Quinn Emanuel?

A Yes.

QO And what are -- what is those
attorneys' title?

A I would call them Quinn Emanuel
contract attorneys and we use them as

second-level reviewers on this case.

Q Okay. And --

A Although -- can I clarify?

Q Of course.

A Because they're -- they're --

 

 

 

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Page 36

ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
within that group there are still people within =
the group of second-level reviewers or Quinn
Emanuel contract attorneys or what you call
Quinn Emanuel staff attorney, some of them are
long term, working on projects long term with
Quinn Emanuel, and some of them, including
those on this case, are hired specifically for

one case.

Q And how would those people differ
in title from -- from Mr. Henig?

A Mr. Henig was a first-level
reviewer. The -- the people you're referring

to were second-level reviewers.

Q And even if -- even if they
were -~ had a long-term relationship with Quinn
Emanuel, they were still referred to as

second-level reviewers; is that correct?

A On this project, yes.
Q What if they had a long-term
relationship in as -- inasmuch as they worked

on many projects, when this project ended they
went to the next project?
A When working on this project, they

were referred to as second-level reviewers.

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
record, so please don't write any
privileged information on that.
A Yes, that looks about right.
MS. SCHULMAN: Can I have my pen
back?
THE WITNESS: Certainly (handing).
Q We have to keep the lawyer ritual

of passing each other notes during a
deposition.

As part of Mr. Henig's job duties,
was Mr. Henig involved in drafting responses to

the document requests that were propounded on

 

A When you say "involved," do you
mean directly involved?

Q Did he actually, physically work
on drafting responses?

A No, he did -- he did not type any
of the responses.

Q Was he consulted before the
responses were drafted?

A Not to my knowledge.

Q As part of Mr. Henig's job duties,

did he ever communicate with the clients, Quinn

 

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
Emanuel's clients in the litigation?
A No.
Q As part of Mr. Henig's job duties,
did he ever communicate with the defendant's
counsel in the eS Litigation?
A Not as part of his job duties, no.
Q As part of his job duties, did
Mr. Henig play any role in drafting a privilege

log in the a Litigation?

MS. SUTTON: Objection.

A Yes, I think you can say that he
did.

Q How -- how could it be said that
he did?

A Because the first step in drafting

a privilege log is to determine if a document
is or is not privileged and determine what type
of privilege exists in the document. Mr. Henig
performed that critical duty.

Q Other than performing that
critical duty, did he play any other role in
directing the privilege log?

A Outside of reviewing the documents

that were privileged and determining the type

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL

Q Do you know where that instruction
would appear?

A It would have been a verbal
instruction during a team meeting.

Q Do you know who would have given
him that verbal instruction?

A It would have been me.

Q And do you specifically remember
giving him that verbal instruction?

A I remember giving the group that
verbal instruction.

Q Was Mr. Henig given a Lexis or
Westlaw password to perform any legal research
if any legal question arose in the course of
doing his work?

A Not by Quinn Emanuel.

Q You spoke earlier about a large
pool of documents that were turned over by

Sic) to -- I am

 

 

sorry, I don't remember the name of the
company?

A

 

Q I am sorry,

 

I am never going to get those straight,

 

 

 

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL

what documents to turn over to LDiscovery?

of their documents for specific custodians and

what we call share drives or LANs.

Q Share drive or?
A LAN, L-A-N, it's an acronyn.
Q So basically someone at Quinn

Emanuel asked Le and 8 to turn over

the entire accounts of certain custodians; is

that accurate?

 

A Yes.

Q Was it -- did Mr. Henig ask anyone

and Ge «o turn over those
documents?

A No.

Q Then we spoke about that pool of

documents that was turned over to LDiscovery
being narrowed down by certain search terms and
connectors; is that correct?

A Correct, we discussed search
terms.

Q Who chose those search terms and
or connectors?

A It would have been Quinn Emanuel

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
associates and partners.

Q Did Mr. Henig play any role in
choosing those search terms and/or connectors?

A No. I should add that defendants
also had a role in selecting those search terms
and connectors.

Q Okay. What sort of training, if
any, did Mr. Henig receive before conducting
the first-level review?

A Mr. Henig would have received
three types of training.

Q Okay.

A He would have received training on
how to use the electronic database from
LDiscovery, that would have been by WebEx. He
received what I'll call an administrative
training from Mr. Riegler regarding Quinn
Emanuel's billing procedures. He may have
received a similar administrative training from
Providus regarding Providus' billing
procedures, but I cannot speak to -- to
Providus' training. And he received a
substantive training from me.

Q First level of training, how to

 

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ANDREW KUTSCHER ~ PRIVILEGED - CONFIDENTIAL
wouldn't have been through WebEx?
A Correct, I can't tell you where
LDiscovery's trainer was.
Q Okay. That administrative
training with respect to Quinn Emanuel's
billing procedure, you said, was conducted by

Mr. Riegler?

A Yes.

Q And that was at that same
location?

A At the review center, yes.

Q And the substantive training was

conducted by you also at the review center?
A Yes.

Q With respect to the billing
procedures, how long did that training last?
A Approximately a half hour.

Q And the substantive training, how
long did that last?

A About two hours, maybe two and a
half.

Q So it sounds like there was a
range of five hours of training on that first

day that Mr. Henig arrived; is that accurate?

 

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Page 75
ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
instructed to apply the issue tags if he knew
which ones did apply, but to not to spend an
inordinate -- inordinate amount of time
considering which issue tag to use.

Q Did anyone at Quinn Emanuel ever
bring to Mr. Henig's attention any complaints
with regard to his failure to use issue tags?

A I am not aware if Mr. Henig did or
did not fail to use issue tags, but I am also
not aware of anyone speaking to him about that
issue.

Q Just to be clear, this document

review guidance that states that the issue tag
notes are a separate section at the end and
that the first sections were to be separated

for the 1LRs was given to Mr. Henig as part of

his training, correct?
A This would have been included in
the packet. If there were any inconsistencies

between what was written in this document and
what I said during the presentation, I would
have expected someone to have followed my
guidance during the presentation.

Q And you -- do you specifically

 

 

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ANDREW KUTSCHER - PRIVILEGED ~ CONFIDENTIAL
Q Yes.
A If Mr. Henig marked a document as

responsive, then it would have followed two
different courses depending on whether he also
marked it privilege or not. If he marked the
document as both responsive and privilege, then
it would go to -- eventually go to the team
that was doing the privilege log where there
would be further review of the document.

If he marked it responsive but did
not mark it privilege, then it would go to the
second-level reviewers and they would then
handle confirming whatever issue tags he had
applied, if he had not put issue tags on, then
issue tagging the document as well as
determining if it was truly responsive doing
Further analysis to determine if it was
privilege or not, and if it was privilege what
type of privilege applied to the document. And
they would also review Mr. Henig's
determination as to whether the document
deserved the interesting tag or the key tag.

If he had put one of those on and they felt

that that tag didn't apply they would take it

 

 

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ANDREW KUTSCHER ~ PRIVILEGED - CONFIDENTIAL
off. If he had not put one of those two on and
the second-level reviewer felt that one of
those two did apply, then they would put on the
interesting tag or the key tag.

They also would have reviewed for
the highly confidential information that's

listed on page 21 of the training PowerPoint.

Q If Mr. Henig marked a document
"not responsive," what would happen with that
document?

A That document would become

eligible for our nonresponsive QC review.

Q What happened to documents that
are eligible for -- for that?
A A subset of those documents then

get a QC review to determine if they were,
indeed, not responsive and to check for any
trends or problems where not a specific person
but -- well, I guess even a specific person,
but that a person or people were consistently
missing an issue, and then the people doing the
QC would flag that to me and I could either add
that to an email I send out with updates or go

over to the review center and speak with the

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
what the cause of that pattern was and address
it; is that accurate?

MS. SUTTON: Objection.

A We would do more than that. But
yes, we would want to determine the cause of
that pattern, we would want to address it.

Q And did that ever happen on
Mr. Henig's project?

A Did what ever happen?

Q That -- that there was a problem
within that the nonresponsive documents that
you had -- that as a result of QC review, you
had to address with the first-level reviewers?

A Yes, I do recall addressing a
couple of issues with first-level reviewers
where certain types of documents were being
marked nonresponsive but should have been
marked responsive.

Q Was that during the time Mr. Henig
was -- was that documents that were reviewed
during Mr. Henig's employment?

A Yes.

Q And do you remember what the --

what types of documents were being marked as

 

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ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
nonresponsive?

A There were what I would call

   

that had been marked nonresponsive that

I wanted marked responsive.

    

What is a

Q What is it? Is it like an email

or a receipt or --

A They can come in different forms
depending on what Eo is involved, but it
would have been -- it would have been an
attachment to an email or an attachment to a

message.

 

Q And it would be titled -- the

 
 

 

document would be titled —

A No.

Q How would you -- how would one
know if a document was af |

A You would have to know based on
context.

Q Okay. And did you show the

reviewers copies of | | to give them

   

an example of what ai | was?

 

 

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Page 101
ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
A Yes, I did.
Q And -- so it sounds like there was

a pattern of first-level reviewers marking

as nonresponsive; is that

correct?

A I don't know if I would call ita

pattern, but there were hat were

 

marked nonresponsive and I felt that it was
important to correct that.

Q And the way you corrected it was

by notifying first-level reviews that Ga

| Es in fact responsive?

A In part yes. There was also --
when I went over to talk to them about this,

there was further training on how to identify a

 
 

why the

 

were
responsive, because I -- I find that if people
understand what they're looking for and why,

they tend to do much a better job of

  

identifying it. So we went over why

 
 

| =J)were responsive, what,

 

looked like, what types of language to look for

to know that you're looking at a¥f

 

Q But then once a -~ once a document

 

 

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Page 102

ANDREW KUTSCHER - PRIVILEGED - CONFIDENTIAL
review attorney properly identified a document

he was to mark it

 

responsive, correct?

  
    

A It depends on what the( |

was for. If it was af

one of our then yes. If it was a
fora different (Mm or fora

 

 
  

then no.
Q How would such an attorney know if

A It would usually include either

   

Q If a document was marked privilege
by Mr. Henig, it was turned over to -- to the
privilege review?

A If a document was marked privilege
by Mr. Henig, it would have gone to the
privilege review, that is correct.

Q And privilege review is different
than second-level review?

A Yeah, that is correct.

Q And if the privilege review team

 

 

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determined that it was properly marked as
privilege, what would happen to the document?

A So there were few a different
steps within the privilege review team. What
would have happened first would be a group of
the Providus first-level reviewers who had
proven themselves to be particularly adapt with
privilege issues would do a review -- a first
cut of this review. And their first step would
be to check for responsiveness one more time
because there is no need to log a document as
privilege if it's actually nonresponsive. So
there would be an additional responsiveness
review.

If a document was responsive, then
the privilege review team, first levels, would
then determine again is this actually
privilege. If they think it's privilege, they
would determine which type of privilege applied
and would then begin filling out in the online
database certain information that would, at the
end of the process, when we're ready to produce
the privilege log, be easily printed out into

log form with some edits and some -- some work

 

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at Excel to move it over from the database into
the log, but they begin filling out that
information.

At that point the document would
go to one of the second-level reviewers on the
privilege team who would go through the same
steps, determine is it indeed responsive,
determine is it indeed privilege, make sure
that the proper type of privilege was noted for
the document and then make sure that the
information that the first level typed in that
was then going to be put into the log was done
correctly.

At the end of the process, there
were associates who would then review the log
once it was generated having using the edits
from the second-level reviewers.

Q Were the second-level reviewers
also Providus people?

A No. The second-level reviewers
were the Quinn Emanuel contract attorneys or
what you called staff attorneys that we
discussed this morning.

Q And first-level reviewers you said

 

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320 an hour standard markup with overtime
authorized. Is that --
MS. SUTTON: Objection.

Q Are you familiar with any of that
underlying topic?

A Sorry, with what topic?

Q Well, first of all, whether the
Quinn Emanuel's clients were to be billed at
320 an hour for their Providus attorneys?

MS. SUTTON: Objection.

A I do not believe that it was
done -- on Mr. Henig's review?

Q Yes.

A I know that 320 an hour is not the

rate that the client was billed. This was for
a prior review. I don't know if this -- if
that was the final number for the review in the

spring of 2011, 320 an hour, but I know for a

Fact that it was not the bill rate for
Mr. Henig's review.

Q What was the bill rate for
Mr. Henig's review?

A $68.50 an hour.

Q And --

 

 

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Q Was -- when you say that he was
expected to review those materials, what was
your expectation with regard to how familiar
you expected him to be with those documents?

A I -- I expected him to be pretty
Familiar with those documents. They were
important, those documents included things like
the defendant's document request and our
responses to those, it's hard to know exactly
what to produce if you haven't reviewed that
carefully and analyzed it.

Q And was there an expectation that
Mr. Henig would refer back to his training
packet if he had any questions with regard to
responsiveness or privilege, in addition to
asking questions from other -- two other
attorneys?

A There certainly was, that's why we
allowed people to keep the training packets.
The training packets were privileged and
confidential and we really didn't want them to
get out, it would have been -- you know, the
easiest thing to do to make sure that the

client's information didn't get out would have

 

 

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been to just do the PowerPoint presentation and
maybe give them some stuff to read and take it
back right away. But instead we left the
packets with everybody for the duration of the
review, so that they would be able to consult
the training packet with questions in the first
instance and then if the question wasn't
answered by the training packet, ask the other
First levels in the room, ask the second-level
reviewer who was in the room specifically to
answer questions, and then in that second level
1f they didn't know the answer could ask the
other second levels on the (4 aur email list
and ask me just to make sure that everyone got
accurate answers to their questions.

QO Was your email address made
available to first-level reviewers?

A The PowerPoint presentation, which
was also included in the training packet,
included not only my email address on the
second page, but also the email -- also ny
phone number and the email addresses and phone
numbers for a number of other associates who

were on the case.

 

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Q Were first-level reviewers allowed

to contact you with questions?

A They were allowed to contact me
with questions. They were discouraged from
contact -- contacting me in the first instance.

I wanted people to ask their neighbors, ask the
second levels first and consult their training
material. But if they weren't able to get an
answer from other sources, yes, they -- they
could contact me directly.

Q If a first-left reviewer contacted
you directly with a question, was it your
practice to respond to the question?

A My practice was to respond to the
question, and if it was a question that I
thought was generally applicable, something
that I wanted everyone to know about, I would
usually delete the name of the sender from the
email and then respond to the whole group so

that everyone would get the benefit of my

answer.
Q Can you look at Exhibit 5, please.
A Okay.
Q I believe you testified that there

 

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